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                       ORAL ARGUMENT RESPONSE FORM
 The Clerk's Office has sent you the calendar for an upcoming court session. Counsel who present oral
argument to the Court must acknowledge receipt of the calendar by completing this form and electronically
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 September                         U.S. Courthouse                          Missouri, St. Louis


CASE NUMBER(S)        23-2322

CASE TITLE            Devin Nunes, et al. v. Ryan Lizza, et al.


ATTORNEY
PRESENTING            Jonathan R. Donnellan
ARGUMENT


On behalf of          Appellee                       Party Name Hearst Magazine Media, Inc.,
                                                                Hearst Magazines, Inc., Ryan
                                                                Lizza
ARGUING ATTORNEY ADDRESS

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